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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 STEVEN CARD,

                         Plaintiff,
                                                    JURY TRIAL DEMANDED
 vs.

 LOVE’S TRAVEL STOPS &                              CIVIL ACTION
 COUNTRY STORES, INC.                               FILE NO.

                         Defendants.


                                      COMPLAINT

       COMES NOW Steven Card, Plaintiff, and files this complaint against

Defendant Love’s Travel Stops & Country Stores, Inc. as follows:

                         PARTIES AND JURISDICTION

                                             1.

       Plaintiff is a citizen of the State of Georgia and resides in this state and is

subject to the jurisdiction of this court.

                                             2.

       Defendant Love’s Travel Stops & Country Stores, Inc. (“Loves Travel Stops”)

is a foreign corporation, existing under the laws of the State of Oklahoma with its

principal place of business in the State of Nebraska and is authorized to transact

business in the State of Georgia, and may be served by delivering a copy of the


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summons and complaint on its registered agent for service, CT Corporation System,

at 289 S. Culver St. Lawrenceville, GA 30046 and is subject to the jurisdiction of

this court.

                                          3.

       There exists complete diversity among the parties and the amount in

controversy exceeds $75,000 exclusive of interests and costs.

                                          4.

       Jurisdiction is proper pursuant to 28 U.S.C. § 1332, and venue is proper in this

Court as Plaintiff resides in Henry County, Georgia.

                                  BACKGROUND

                                          5.

       On or about February 12, 2019, Michael Foley was driving a tractor-trailer

southbound on I-75 when two right rear tires on his trailer detached and one tire

crossed the median into the northbound lanes of travel.

                                          6.

       Prior to the wheels/tires coming off the trailer driven by Michael Foley,

Defendant Loves Travel Stops had negligently performed an inspection, repair,

maintenance, and/or replacement of the wheels/tires that came off the trailer.




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                                           7.

      At the time the tires detached, Plaintiff was driving a tractor trailer vehicle

northbound on I-75 and the detached tire came across the median and slammed into

Plaintiff’s cab and penetrated the windshield.

                                           8.

      Plaintiff came to a rest in the far-right lane of I-75.

                                           9.

      As a result of the collision, Plaintiff suffered severe and permanent injuries,

including severe damage to his neck requiring surgical repair.

                            COUNT I – NEGLIGENCE

                                          10.

      Plaintiff realleges and incorporates herein the allegations contained in

paragraphs 1 through 9 above as if fully restated.

                                          11.

      Defendant Loves Travel Stops was negligent in failing to conduct an

appropriate inspection of the subject trailer, failing to recognize that there was a

problem with the wheels/tires on the trailer, and failing to properly repair, replace,

and/or affix the subject wheels/tires on the trailer.




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                                          12.

       Defendant Loves Travel Stops was negligent in permitting the trailer to depart

its facility with a mechanical problem that it knew or should have known existed.

                                          13.

       Defendant Loves Travel Stops was negligent in failing to warn the owner

and/or driver of the trailer that the wheels/tires were not properly repaired, replaced,

and/or affixed.

                                          14.

       Defendant’s negligence is the sole and proximate cause of the collision, and

Plaintiff’s resulting injuries.

                        COUNT II – IMPUTED LIABILITY

                                          15.

       Plaintiff realleges and incorporates herein the allegations contained in

paragraphs 1 through 14 above as if fully restated.

                                          16.

       The individual(s) who negligently repaired, replaced, inspected, and/or

affixed the subject tires/wheels was an employee and/or agent of Defendant Loves

Travel Stops at all times relevant hereto.




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                                         17.

       At all times relevant hereto, the individual(s) was acting within the scope of

his or her employment and/or agency with Defendant Loves Travel Stops.

                                         18.

       Defendant Loves Travel Stops is responsible for the actions of the

individual(s) it employed whose negligent actions/omissions ultimately led to the

collision described in this complaint under the doctrine of respondeat superior and/or

agency.

    COUNT III – NEGLIGENT HIRING, TRAINING & SUPERVISION

                                         19.

       Plaintiffs reallege and incorporate herein the allegations contained in

paragraphs 1 through 18 above as if fully restated.

                                         20.

       Defendant Loves Travel Stops was negligent in hiring the individual(s) who

negligently repaired, replaced, inspected, and/or affixed the wheels/tires on the

subject trailer.

                                         21.

       Defendant Loves Travel Stops was negligent in failing to properly train the

individual(s) who negligently repaired, replaced, inspected, and/or affixed the

wheels/tires on the subject trailer.


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                                              22.

       Defendant Loves Travel Stops was negligent in failing to properly supervise

the individual(s) who negligently repaired, replaced, inspected, and/or affixed the

wheels/tires on the subject trailer.

                                              23.

       Defendant Loves Travel Stops’ negligence was the sole and proximate cause

of the collision, and Plaintiff’s injuries.

                              COUNT IV – DAMAGES

                                              24.

       Plaintiff realleges and incorporates herein the allegations contained in

paragraphs 1 through 23 above as if fully restated.

                                              25.

       As a result of Defendant’s negligence, Plaintiff suffered multiple injuries

including a neck injury which required surgery and lacerations to his head and body.

                                              26.

       As a result of Defendant’s negligence, Plaintiff has a claim for past medical

expenses, future medical expenses, and past and future lost wages.




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                                          27.

      As a result of Defendant’s negligence, Plaintiff has suffered immensely and

will continue to suffer and has a claim for past and future pain and suffering.

                                          28.

      Defendants’ negligence is the sole and proximate cause of these injuries.

                       COUNT V – PUNITIVE DAMAGES

                                          29.

      Plaintiff realleges and incorporates herein the allegations contained in

paragraphs 1 through 28 above as if fully restated.

                                          30.

      Defendant’s conduct was reckless, willful and wanton, and demonstrates a

conscious indifference to the consequences of their actions and entitles Plaintiff to

an award of punitive damages.

      WHEREFORE, Plaintiff prays that he have a trial on all issues and judgment

against Defendant as follows:

      a.      That Plaintiff Steven Card recover for past and future medical expenses

              and lost wages in an amount to be proven at trial;

      b.      That Plaintiff Steven Card recover for his past and future physical and

              mental pain and suffering in an amount to be determined by the

              enlightened conscience of a jury;


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      c.      That the Plaintiff recovers punitive damages in an amount to be

              determined by the enlightened conscience of a jury;

      d.      That Plaintiff recovers such other and further relief as is just and proper

      This 4th day of February, 2021.
                                            Respectfully Submitted,

                                            THE SIMON LAW FIRM P.C.


                                            By: /s/ Harrison W. Spires
                                            HARRISON W. SPIRES
                                            Georgia Bar No. 940882
                                            CHRISTOPHER M. SIMON
                                            Georgia Bar No. 646922

2860 Piedmont Road NE
Atlanta, Georgia 30305
(678) 608-2788
Fax: (404) 841-8534
Email: Harrison@simon.law
Email: cms@simon.law

Attorneys for Plaintiff




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